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                            UNITED STATES DISTRICT COURT
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            CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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  13   SEATRIEVER INTERNATIONAL                    CASE NO. 2:17-cv-08376-JAK-JPR
       HOLDINGS LTD., a United Kingdom
  14   private limited company, and ILLOOM
       BALLOON LIMITED, a United Kingdom           CONSENT JUDGEMENT
  15   limited business entity,
                                                   JS-6
  16                            Plaintiffs,
  17                       v.
  18   INNOVA IMPORTS LLC, a New York
       limited liability company, TRENDY
  19   HOME GOODS, INC., a New York
       corporation, ICA DEALS, LLC, a
  20   California limited liability company, and
       DOES 1-10,
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                                Defendants.
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   1         IT IS STIPULATED, ORDERED, ADJUGED, AND DECREED:
   2         1.      This is an action for patent infringement under the patent laws of the
   3   United States, Title 35 of the United States Code.
   4         2.      This Court has jurisdiction over Defendant ICA Deals, LLC
   5   (“Defendant” or “ICA Deals”) and the subject matter of this action under 28 U.S.C.
   6   §§ 1331 and 1338(a). Venue is proper in this Court pursuant to 28 U.S.C. § 1400(b).
   7         3.      Plaintiff Seatriever International Holdings Ltd. is the owner of all right,
   8   title, and interest in and to U.S. Patent No. 8,297,778 (the “‘778 patent”).
   9         4.      Defendant has used, sold, and/or offered for sale, or caused and assisted
  10   others to import, use, sell, and/or offer for sale, in the United States light up balloon
  11   products that infringe one or more claims of the ‘778 patent.
  12         5.      Effective as of the date this Consent Judgement is entered by the Court,
  13   Defendant and its affiliates, officers, directors, agents, servants, employees,
  14   successors, and assigns, and all other persons and organizations in active concert or
  15   participation with any of the foregoing, are hereby permanently enjoined and
  16   restrained from engaging in any of the following activities:
  17         a. making, using, selling, or offering for sale in the United States, or
  18              importing into the United States, during the remaining term of the ‘778
  19              patent, (i) the Infringing Balloons (as defined in the First Amended
  20              Complaint) and (ii) any other light up balloon product that is not more
  21              than colorably different from the Infringing Balloons;
  22         b. otherwise directly infringing, contributorily infringing, or inducing
  23              infringement of any of the claims of the ‘778 patent with respect to (i) the
  24              Infringing Balloons; and (ii) any other light up balloon product that is not
  25              more than colorably different from the Infringing Balloons; and
  26         c. assisting, aiding, or abetting any other person or business entity in
  27              engaging in or performing any of the activities referred to in subparagraphs
  28              a and b above.

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   1         6.     Within five (5) business days of the date this Consent Judgement is
   2   entered by the Court, Defendant shall return all Infringing Balloons (as well as any
   3   other light up balloon product that is not more than colorably different from the
   4   Infringing Balloons) in its storage, warehouse, custody, possession, and/or control
   5   to Plaintiffs or their counsel of record.
   6         7.     Defendant and Plaintiffs shall bear their own costs and attorneys’ fees.
   7         8.     This Consent Judgement constitutes a final judgment concerning the
   8   subject matter of this action with respect to the Plaintiffs and Defendant.
   9         9.     Defendant and Plaintiffs waive any right to appeal from this Consent
  10   Judgment.
  11         10.    Upon entry of this Consent Judgement, this action is dismissed with
  12   prejudice with respect to the Plaintiffs and Defendant; provided, however, that this
  13   Court shall retain jurisdiction to enforce the terms and provisions of this Consent
  14   Judgment.
            IT IS SO ORDERED.
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  17   Dated: February 20, 2019                    __________________________________
                                                   JOHN A. KRONSTADT
  18                                               UNITED STATES DISTRICT JUDGE
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